904 F.2d 702Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Linwood WHITE, Petitioner-Appellant,v.STATE OF MARYLAND;  J. Joseph Curran, Jr., Attorney General,Respondents-Appellees.
    No. 90-7250.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 21, 1990.Decided:  May 22, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Norman P. Ramsey, District Judge.  (C/A No. 89-2587).
      Linwood White, appellant pro se.
      John Joseph Curran, Jr., Office of the Attorney General of Maryland, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before K.K. HALL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Linwood White seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  White v. State of Maryland, C/A No. 89-2587 (D.Md. Dec. 12, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    